EXHIBIT D
Short Message Report

Conversations: 1                             Participants: 2
Total Messages: 1                            Date Range: 5/23/2023

Outline of Conversations


        adbd95cb45d5c748a5134b966540ae79f5db29210229d1eee5ad8bc6c9e1d68b-2023/05/24 1
        message on 5/23/2023 E. Jean Carroll John Major




                                                                            PLAINTIFF's
                                                                             EXHIBIT
                                                                              PX-128
                                                                            20 Civ. 7311 (LAK)
Messages in chronological order (times are shown in GMT -04:00)


 Q       adbd95cb45d5c748a5134b966540ae79f5db29210229d1eee5ad8bc6c9e1d68b-2023/05/24

         John Major                                                                                         5/23/2023, 11:33 PM
         I'm so very sorry; my friend said he wants to kill you and I cannot stop him. Rest in peace cunt
